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1    Michael S. Elkin (pro hac vice)             Jennifer A. Golinveaux (SBN: 203056)
     melkin@winston.com                          jgolinveaux@winston.com
2    WINSTON & STRAWN LLP                        Thomas J. Kearney (SBN: 267087)
     200 Park Avenue                             tkearney@winston.com
3    New York, NY 10166                          WINSTON & STRAWN LLP
     Telephone: (212) 294-6700                   101 California Street, 35th Floor
4    Facsimile: (212) 294-4700                   San Francisco, CA 94111
                                                 Telephone: (415) 591-1000
5    Erin R. Ranahan (SBN: 235286)               Facsimile: (415) 591-1400
     eranahan@winston.com
6    WINSTON & STRAWN LLP
     333 S. Grand Avenue
7    Los Angeles, CA 90071-1543
     Telephone: (213) 615-1700
8    Facsimile: (213) 615-1750
9    Attorneys for Defendant
     CLOUDFLARE, INC.
10
11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                       WESTERN DIVISION—LOS ANGELES
14   DENIECE WAIDHOFER, an                       Case No. 2:20-cv-06979-FMO-AS
     individual; MARGARET
15   MCGEHEE, an individual; and
     RYUU LAVITZ, LLC, a                         APPEARING DEFENDANTS’
16   Massachusetts limited liability             RESPONSE TO PLAINTIFFS’ CROSS-
     company,                                    APPLICATION TO MODIFY
17                                               BRIEFING SCHEDULE FOR
                 Plaintiffs,                     DEFENDANTS’ MOTIONS TO
18                                               DISMISS PLAINTIFFS’ FIRST
           vs.                                   AMENDED COMPLAINT
19
     CLOUDFLARE, INC., a Delaware                Cross-Application Filed: November 19,
20   corporation; BANGBROS.COM,                  2020 at 4:42 PM PST
     INC., a Florida corporation;
21   SONESTA TECHNOLOGIES,
     INC., a Florida corporation; MULTI
22   MEDIA LLC, a California limited
     liability company; CRAKMEDIA
23   INC., a Canadian corporation; and
     JOHN DOES 1-21,
24
                 Defendants.
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                  RESPONSE TO PLAINTIFFS’ CROSS-APPLICATION TO MODIFY BRIEFING SCHEDULE
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1          Defendants Cloudflare, Inc., Multi Media, LLC and Sonesta Technologies, Inc.
2    (f/k/a BangBros.com Inc.) (“Appearing Defendants”) hereby respond to Plaintiffs’
3    Cross-Application to Modify Briefing Schedule for Defendants’ Motions to Dismiss
4    Plaintiffs’ First Amended Complaint (“FAC”). Dkt. 87. Appearing Defendants
5    respectfully request that the Court deny Plaintiffs’ Cross-Application and enter the
6    briefing schedule requested in Appearing Defendants’ Ex Parte Application to Modify
7    Briefing Schedule for Defendants’ Motions to Dismiss Plaintiffs’ FAC. Dkt. 86.
8          The Appearing Defendants requested a slightly extended briefing schedule for
9    their motions to dismiss Plaintiffs’ FAC in light of the upcoming Thanksgiving
10   holiday. Without the extension, and under the default briefing schedule, Plaintiffs’
11   opposition would be due on Thanksgiving, so the deadline would roll to Monday,
12   November 30, and the Appearing Defendants’ replies would be due just three days
13   later on Thursday, December 3. Accordingly, the Appearing Defendants proposed two
14   weeks each for Plaintiffs’ opposition and their replies and a hearing date of January 7,
15   2021. Plaintiffs refused to stipulate to the proposed extension and opposed the
16   Appearing Defendants’ Ex Parte Application to enter it, instead seeking to further
17   extend the briefing schedule by several weeks and to push the hearing date for the
18   motions to January 21, 2021. Plaintiffs fail to show good cause for the delay.
19         Plaintiffs’ FAC (Dkt. 68) added two new plaintiffs, thousands of new works, a
20   new foreign defendant (unrelated to the Appearing Defendants), and new allegations
21   in an effort to plead around the Appearing Defendants’ motions to dismiss the original
22   Complaint. Nonetheless, Plaintiffs refused to stipulate to the Appearing Defendants’
23   request to extend the time to file their motions to dismiss the FAC by five days to
24   Monday, November 23. Accordingly, Defendants agreed to forego any extension of
25   time to file their motions, and proposed a reasonable briefing schedule that would
26   allow two full weeks for Plaintiffs’ oppositions and a corresponding two weeks for
27   Defendants’ replies, and would complete briefing before the end of year holidays. See
28   Dkt. 86-1 at 3. Plaintiffs refused, instead insisting on three weeks for their

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1    oppositions, and pushing the hearing to January 21, 2021. Plaintiffs’ proposed dates
2    would make Defendants’ replies due in the middle of the Christmas and New Years’
3    holidays, and would push the hearing out several weeks. In short, Plaintiffs refused to
4    stipulate to even a five day extension of time for the Appearing Defendants’ motion to
5    dismiss—which would have had the added benefit of avoiding Plaintiffs’ oppositions
6    being due on Thanksgiving—while simultaneously seeking to extend the deadline for
7    their oppositions on the grounds that “most federal courts” provide a “standard” 21
8    days to oppose motions to dismiss. Id. at 6. That is not the rule in this Court, however,
9    which is where Plaintiffs elected to bring their case. Civil Local Rule 7-9.
10         Meanwhile, Plaintiff Waidhofer has served and is pursuing discovery on claims
11   that the Appearing Defendants believe their motions to dismiss should resolve.
12   Plaintiffs’ objection that the Court permits discovery to commence misses the point:
13   the sooner Defendants’ motions are briefed and heard, the sooner any meritless claims
14   and concomitant discovery will be eliminated from the case, and the more efficiently
15   litigation can proceed.1 The Appearing Defendants’ proposed schedule is fair and
16   reasonable to the parties and also conducive to timely resolution of the motions to
17   dismiss. It also reasonably accommodates Plaintiffs’ stated concerns about having
18   other motions to respond to over the next month and other conflicting obligations.
19                                         CONCLUSION
20         For these reasons, the Appearing Defendants respectfully request that their
21   proposed briefing and hearing schedule be entered as follows:
22         • Plaintiffs shall file any Oppositions to the Motions to Dismiss the FAC by
23            Wednesday, December 2, 2020.
24         • Defendants shall file any Replies by Wednesday, December 16, 2020.
25         • The Motions shall be noticed for hearing on Thursday, January 7, 2020, at
26            10:00 a.m.
27   1
      Also beside the point is Plaintiffs’ untrue claim that Defendants “issued boilerplate
     objections to Plaintiffs’ discovery requests.” Dkt. 87, at 3 n. 1. Defendants are not
28   currently seeking a stay of discovery, as Plaintiffs seem to imply.

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1    Dated: November 20, 2020                WINSTON & STRAWN LLP
2                                            By: /s/ Jennifer A. Golinveaux
                                                 Jennifer A. Golinveaux
3                                                Michael S. Elkin
                                                 Erin R. Ranahan
4                                                Thomas J. Kearney
5                                                  Attorneys for Defendant
                                                   CLOUDFLARE, INC.
6
7
     Dated: November 20, 2020                QUINN EMANUEL URQUHART &
8                                            SULLIVAN, LLP
9                                            By: /s/ Michael T. Zeller
                                                Michael T. Zeller
10                                                 Attorney for Defendants
11                                                 Multi Media, LLC and Sonesta
                                                   Technologies, Inc. (f/k/a BangBros.com
12                                                 Inc.)

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                 RESPONSE TO PLAINTIFFS’ CROSS-APPLICATION TO MODIFY BRIEFING SCHEDULE
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1                                     ATTESTATION
2          I, Jennifer A. Golinveaux, attest that the above listed signatories on whose
3    behalf this document is being filed, have concurred in the content and have
4    authorized the filing.
5    Dated: November 20, 2020                  WINSTON & STRAWN LLP
6                                              By: /s/ Jennifer A. Golinveaux
                                                   Jennifer A. Golinveaux
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                   RESPONSE TO PLAINTIFFS’ CROSS-APPLICATION TO MODIFY BRIEFING SCHEDULE
